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                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                    Orlando Division

COLOR EVENTS, BV,                         )
                                          )
            Petitioner,                   )                  Case No. 6:18-cv-00648-RBD-DCI
                                          )
      v.                                  )
                                          )
MULTI TALENT AGENCY, INC.                 )
                                          )
            Respondent.                   )
_________________________________________ )

     MOTION FOR FINAL DEFAULT JUDGMENT AGAINST RESPONDENT
 MULTI TALENT AGENCY, INC. AND INCORPORATED MEMORANDUM OF LAW

          Pursuant to Rule 55(b)(1) of the Federal Rules of Civil Procedure, petitioner Color

Events, BV (“Petitioner”) moves for entry of a Clerk’s default judgment against respondent

Multi Talent Agency, Inc. (“MTA”). In support, Petitioner states:

          1.    MTA was served on July 10, 2018 with the Petition to Confirm Arbitration

Award, Summons, and other documents through delivery of these documents on MTA’s Chief

Executive Officer, Tasea Ferguson. A copy of the return of service has been previously filed

with the Court [ECF No. 17].

          2.    MTA’s response to the Petition was due to be filed no later than July 31, 2018.

          3.    MTA failed to plead or otherwise defend this action.

          4.    Petitioner moved for entry of a Clerk’s default against MTA for failure to plead or

otherwise defend this action on August 7, 2018 [ECF No. 18].

          5.    A Clerk’s default was entered against MTA on August 8, 2018 [ECF No. 19].

          6.    MTA is a Florida corporation and therefore neither a minor nor an incompetent

person.



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         7.     Petitioner’s claim is for an amount certain, $310.708.26 (the “Amount Certain”).

         8.     The Amount Certain is calculated by taking the $534,439.26 award issued in the

underlying arbitration (the “Final Award,” a copy of which is attached as Exhibit B to the

Complaint [ECF No. 1-3]) and subtracting $223,731.00, which represents the amount previous

received by Petitioner from other sources in partial satisfaction of the Final Award.

         9.     As set forth in the incorporated memorandum of law, Petitioner is entitled to entry

of a Clerk’s Default Judgment in its favor and against MTA in the amount of $310,708.26 plus

post-judgment interest at a rate of ten percent (10%) per annum as set forth in the Final Award.

                                   MEMORANDUM OF LAW

         Pursuant to Rule 55(b)(1), Fed. R. Civ. P., on a plaintiff’s request, a clerk must enter a

default judgment against a defendant who has been defaulted for not appearing and who is

neither a minor nor an incompetent person if the plaintiff’s claim is for a sum certain or a sum

that can be made certain by computation. Id.

         A Clerk’s default was entered against MTA on August 8, 2018 [ECF No. 19] for its

failure to appear in this action. MTA is a Florida corporation and therefore is neither a minor nor

an incompetent person. Petitioner’s claim is for an amount certain, $310.708.26. A true and

correct copy of the Declaration of Donnie M. King (“King Declaration”) is attached hereto as

Exhibit A. The amount sought is calculated by taking the $534,439.26 Final Award issued in

the underlying arbitration and subtracting $223,731.00, the amount previously received by

Petitioner from other sources in partial satisfaction of the Final Award. The King Declaration

establishes the amount due and is properly provided in support of this motion. See Fed. R. Civ. P

Rule 55(b)(1); 28 U.S.C. §1746.




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         Because a Clerk’s default was entered against MTA on August 8, 2018 and Petitioner’s

claim is for a sum certain or a sum that can be made certain by computation, entry of a Clerk’s

default judgment is appropriate as a matter of law.

         WHEREFORE, petitioner Color Events, BV requests that: (i) the Clerk enter a default

judgment against respondent Multi Talent Agency, Inc. and in its favor in the amount of

$310,708.26 plus post-judgment interest at a rate of 10% per annum; and (ii) grant such further

relief as the Court deems just.

                                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I caused a copy of the foregoing to be filed via the CM/ECF

electronic filing system on this 16th day of August, 2018, and thereby served by U.S. Mail (and

email where indicated) upon the following parties:

         Multi Talent Agency, Inc.
         c/o Stephen Ferguson, Registered Agent
         4300 W. Lake Mary Blvd., #1010-324
         Lake Mary, FL 32746

                                            s/Ryan Roman
                                            Attorney




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